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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       CRIMINAL NO. 17-10092-NMG
                                              )
GARY P. DECICCO,                              )
                                              )
               Defendant.                     )

                              UNITED STATES’ OPPOSITION TO
                              MOTION TO DISMISS INDICTMENT

       The United States, through undersigned counsel, respectfully opposes the Motion of

Defendant Gary DeCicco to Dismiss Indictment for Government Misconduct [Docket No. 301]

(the Motion). As set forth below, the government had a typographical error in its attachments to

subpoenas to phone companies when it sought the cellular telephone records of the victim in this

case. That typo, and a mistake in producing text messages between an agent with the Federal

Bureau of Investigation (the FBI) and the victim in this case, have now morphed into accusations

of material misrepresentations, withholding discoverable information, and spoliation of

exculpatory evidence, none of which are grounded in fact, all of which are based on pure

speculation, and some of which are based on the word of a convicted fraudster who admittedly

arranged both the delivery of the threatening flowers to and the beating of the victim in this case.

The Motion should be denied because the government has produced all relevant and exculpatory

information within its possession, custody and control, and because the government did not

destroy or direct the destruction of any evidence in this case.
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   I.       Relevant Background

        A. The August 4, 2014 Incident.

        On August 4, 2014, the Defendant admittedly sent flowers and a crystal cross to Medi

Mirnasiri, the owner of Auto Excellence Group (AEG) with the following message:

        Congrats Gary – We all know who’s place that is. We hope this cross
        will help you get rid of that MUSLIM PRICK. From all RT. 1
        Autodealers. 1

(Emphasis added). On the same date, Mirnasiri reported the incident to the Saugus Police

Department (the SPD), not the FBI. Mirnasiri also reported to the SPD that he received a

blocked harassing phone call on that date, and that $75 worth of pizza that he did not order had

been delivered to AEG. The Defendant’s business associate, Philip Baldi, has admitted that he

(with the Defendant’s approval) had the pizza delivered to Mirnasiri.

        SPD investigated the incident, and received a physical description of the woman who had

ordered the flowers. Mirnasiri told SPD that the woman could have been Kimberly

DeBenedictis, one of the Defendant’s girlfriends. Mirnasiri reported that DeCicco had sold him

the land where AEG was located, although the land had actually been titled in the names of

Charles Lightbody and Pamela Avedisian. Mirnasiri further stated that DeCicco wanted to be a




        1
          The note dictated by the Defendant said nothing about his family, girlfriend, or any
other of the various purported motives the Defendant has floated in his multiple filings in this
case. In fact, the Defendant himself told Mirnasiri in the card delivered with the flowers that the
threat related to the ownership of AEG. To allege that the government pursued this case based
only on the word of Mirnasiri is patently false and ignores the most critical piece of evidence in
the government’s case: the Defendant’s own admission.

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partner in his business. 2

        Due to the possible connection of the incident to individuals with known associations

with organized crime, SPD Detective Frank Morello got in touch with SPD Detective James

Donovan, who was a Task Force Officer (TFO) with the FBI. At some point, the referral made

its way to FBI Special Agent Jesse Chizmadia, who was also assigned to the FBI’s organized

crime squad, presumably because SA Chizmadia had some involvement in the investigation

which led to the indictment in United States v. DeNunzio, et al., 14-CR-10284, during which the

Defendant’s name had also surfaced. 3

        B. Contact Between The FBI And Mirnasiri
           Between August And December 2014.

        By the end of August 2014, the FBI had the referral from SPD of the delivery of flowers

with a threatening note to AEG. Mirnasiri was not then a source for the FBI, he was one of

many purported crime victims whose complaints get forwarded to the FBI’s attention.

Moreover, Mirnasiri had not yet been assaulted. The fact that SA Chizmadia had contacts with


        2
          The SPD report reflects that the SPD asked Mirnasiri whether he had any prior
incidents of harassment that were similar to this one. The report further states “He told us that he
had one prior incident that involved a neighbor of his. That neighbor is now identified as Gary
DeCicco (**/**/58). He told us that he had contacted the FBI about the matter and it stopped
shortly thereafter.” The FBI has no record of Mirnasiri contacting the agency about DeCicco. It
does have a record that Mirnasiri provided information to the FBI in April 2008 regarding the
Nahant Knights of Columbus, which neighbors Mirnasiri’s property.
        3
          Contrary to the repeated accusations in the Memorandum in support of the Motion, the
fact that Mirnasiri reached out first by phone to SA Chizmadia on August 27, 2014 does not
mean the government has made any sort of misrepresentation about how this case made its way
to the FBI. The SPD report states the matter was referred to the FBI, and the government
produced an FBI Form 302 of an interview with SPD Detective Morello in which he stated that
he brought the matter to the attention of the FBI. Indeed, Mirnasiri could not have called SA
Chizmadia’s cellular telephone number unless someone from SPD or the FBI provided it to him
and thereby invited the call.



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Mirnasiri during that time period does not mean that the FBI was conducting a “stealth

investigation of [the Defendant] for months.” Memo, at 21. Nor does it mean that the

government has misrepresented anything to the Court. In fact, SA Chizmadia took the complaint

but was busy with other matters, he talked briefly on the phone several times and exchanged text

messages with Mirnasiri, who was eager to have his complaint investigated, but the government

anticipates that SA Chizmadia will testify that he did not fully debrief Mirnasiri until December

28, 2014.

        C. The January 2015 Assault.

        On January 11, 2015, James Lundrigan viciously assaulted Mirasiri, resulting in a broken

jaw. It is undisputed that Lundrigan committed the assault on behalf of the Defendant, in

exchange for $1,000. The assault was captured on videotape, and the SPD responded to AEG.

The next day, the FBI collected evidence from AEG, including the videotape. Ultimately, the

fingerprint and DNA evidence collected from AEG did not result in the identification of the

assailant.

        The FBI eventually identified Lundrigan as the assailant, and he confessed to the assault

in November 2015. In January 2017, the FBI learned from David Witham, who had hired

Lundrigan, that the assault was arranged through Jeffrey Prime on behalf of Gary DeCicco. On

March 16, 2017, Kimberly DeBenedictis admitted that she sent the flowers for the Defendant on

August 4, 2014, and that the Defendant had dictated the threatening note.

        D.     The Government’s Efforts to Secure Mirnasiri’s Phone Records.

        Having tied the two critical events in this attempted extortion case – the flower delivery

and the assault – definitively to the Defendant, investigators in early April 2017 subpoenaed

phone records for Mirnasiri in an effort to identify the source of the calls he reported to SPD in



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2014. Comcast responded that it had no records for the AEG landline number. See Exhibit 1

(USAO_DECICCO_00003418 through USAO_DECICCO_00003419). Unfortunately,

investigators made a typographic error on the subpoena attachment for T-Mobile records related

to Mirnasiri’s cellular telephone, and the company provided records indicating that, during the

relevant time period, the number was assigned to a different carrier. That carrier in turn

responded that, due to its retention policies, it did not have records dating back to 2014 and 2015

for the phone number. See Exhibit 2 (USAO_DECICCO_00002838 through

USAO_DECICCO_00002839). 4

       During preparations for trial, Mirnasiri reported that he might still have a cellular

telephone that he used during the 2014-2015 time period, which he was not currently using. On

April 18, 2018, Mirnasiri provided his phone to the FBI, and the FBI extracted all data on the

phone. The phone call logs, SMS and MMS messages extracted did not predate July 2016.

However, having the phone in its possession, the government endeavored to review all extracted

data, and produced on a rolling basis anything that was potentially relevant or exculpatory.

       On May 4, 2018, hours after defense counsel notified the government of the

typographical error as to Mirnasiri’s cellular telephone number, the government issued a trial

subpoena to T-Mobile for records relating to the correct telephone number. The government


       4
         The Bates Numbers on these records indicate that they were produced to the Defendant.
The suggestion that the government “resisted production of information as to what efforts were
made by law enforcement to identify the alleged callers” is untrue. After the government
explained that it had produced all of the subpoena responses it received regarding the phone
records, Judge Hennessy repeatedly asked defense counsel at the May 10, 2018 hearing on the
Defendant’s motion to compel discovery what exactly they wanted the government to produce
regarding its “efforts” to obtain phone records, and ultimately stated, “If there are 302s that were
prepared regarding the attempts to identify the source of the calls, I want those produced and
order those produced. I can’t draw the line. I can’t actually identify what it is that you’re
seeking beyond that . . .” See Docket No. 271, at 48. No such FBI Form 302s exist.

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expedited the request. On May 17, 2018 at 3:05 p.m., the government received records from T-

Mobile and by 5 p.m. delivered all of those records to defense counsel. See Exhibit 3 (Receipt

from Speedy Delivery). After sending the records, and around the same time that defense

counsel notified the government of the same (at 6:12 p.m. on May 17), investigators realized that

T-Mobile had sent incomplete records. At 9:17 a.m. on May 18, the government notified T-

Mobile that the response was missing records, and followed up on May 21. See Exhibit 4 (May

18-21, 2018 emails between Ibrahim Salah and T-Mobile). On May 22 at 10:03 a.m., T-Mobile

provided records for the entire responsive time period, including the records that were missing

from the first response, and stated “I APOLOGIZE FOR THE ERROR ON THE RECORDS

SENT PRIOR. I HAVE ATTACHED THE TIME FRAME MISSING TO THE END OF THE

RECORDS.” See Exhibit 5 (May 22, 2018 email from T-Mobile). At 10:31 a.m., less than 30

minutes after receipt, the government produced the records to defense counsel. See Exhibit 6

(May 22, 2018 email from Ibrahim Salah). 5

       In addition, out of an abundance of caution, the government issued a trial subpoena to

Comcast for all records for the landline phone number for AEG, even though Comcast had

previously responded that it had no such records. After escalating the matter, Comcast located

some records for the time period, but not complete records. See Exhibit 7 (May 23, 2018 email

from Timothy Derr), and Exhibit 8 (Records from Comcast). The government provided these

records to the Defendant promptly upon receipt.




       5
          The government provided defense counsel with copies of Exhibits 4 and 5 via email
before 9:20 a.m. on May 24, 2018. Accordingly, the Defendant had this information when it
filed its Motion alleging that the government had deliberately withheld critical records.

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       E.     The Production of FBI Text Messages.

       On May 8, 2018, the government voluntarily made a production pursuant to 18 U.S.C.

§ 3500, which included two spreadsheets of text messages with Mirnasiri, who is on the

government’s witness list. One spreadsheet reflected communications with SA Chizmadia and

the other reflected communications with SA Elio. It was not until the May 23, 2018 Final

Pretrial Conference that the government realized that text messages from 2014 between SA

Chizmadia and Mirnasiri had not been produced on May 8. Those text messages were provided

by the FBI on a different spreadsheet, because SA Chizmadia had switched from a BlackBerry

device to an Android device around the end of 2014 or beginning of 2015. Upon realizing its

error, the government produced the missing 2014 text messages the morning of May 24, 2018. 6

       Also on May 24, 2018, while reviewing the text messages for SA Chizmadia provided by

the FBI, the government realized that the FBI technicians had not provided text messages after

2015 for SA Chizmadia. The government reached out to the FBI technicians, and in the

meantime culled and produced the text messages between SA Chizmadia and Mirnasiri that had

been captured in the extraction of Mirnasiri’s phone, and produced those records (along with

recent texts between SA Elio and Mirnasiri), pursuant to the government’s agreement to provide

early Jencks Act materials to the Defendant.




       6
          The accusation that the government intentionally withheld information that SA
Chizmadia and Mirnasiri had contact before they met on December 28, 2014 is false. The
government has never represented to the Court that there was no contact at all before December
28, 2014. Moreover, the government immediately upon receipt produced the phone records that
reflected the contact and revealed the inadvertent omission of the 2014 texts.

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   II.      ARGUMENT

         The Defendant contends that the government has engaged in “outrageous government

conduct” in four ways: (1) by destroying exculpatory evidence; (2) by making material

representations in support of its motion to detain the Defendant; (3) by withholding exculpatory

evidence until the eve of trial; and (4) by deliberately failing to investigate facts. See

Memorandum of Defendant Gary DeCicco in Support of Motion to Dismiss Indictment for

Government Misconduct (Docket No. 302-1) (the Memo), at 31. The government, however, has

not engaged in outrageous conduct, and the Motion must therefore be denied.

         As this Court recognized in United States v. George, 839 F.Supp.2d 430, 438 (D. Mass.

2012):

                “In rare and extreme circumstances, a federal court has the
                authority to dismiss criminal charges as a sanction for government
                misconduct.” United States v. Guzman, 282 F.3d 56, 59 (1st Cir.
                2002). That power must be used “sparingly,” however, and is
                “reserved for only the most appalling and egregious situations.”
                Id. (citing United States v. Santana, 6 F.3d 1, 10 (1st Cir. 1993)
                (“Potential elixirs should not be casually dispensed.”)). A
                defendant invoking an outrageousness defense therefore has a high
                hurdle to surmount: indeed, although the First Circuit has
                confirmed the theoretical viability of the defense, it has never
                dismissed criminal charges on the basis of outrageous government
                misconduct. United States v. Luisi, 482 F.3d 43, 59 (1st Cir. 2007)
                (citing cases); Santana, 6 F.3d at 4 (“The banner of outrageous
                misconduct is often raised but seldom saluted.”).

                A defendant claiming government misconduct must demonstrate
                that the government has engaged in conduct “so appalling and
                egregious as to violate due process by ‘shocking … the universal
                sense of justice.’” Luisi, 482 F.3d at 59 (quoting United States v.
                Russell, 411 U.S. 423, 432, 93 S. Ct. 1637, 36 L.Ed.2d 366
                (1973)).

         The Defendant has not met and cannot meet this heavy burden. Indeed, despite his best

efforts, his attempt to show any intentional misconduct fails.



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       A. The Government Did Not “Destroy Exculpatory Evidence.”

       The centerpiece of the Defendant’s claim that the Court should dismiss the indictment is

his contention that the government engaged in “outrageous government conduct” by destroying

exculpatory evidence. Memo, at 31-32. Specifically, the Defendant claims that “the

government knowingly destroyed the voicemails that [the Defendant] left for Mirnasiri on

December 9, October 8, and October 9, 2014.” Memo at 32. The Defendant maintains that this

purported destruction of evidence warrants dismissal under United States v. Femia, 9 F.3d 990,

993 (1st Cir. 1993) because (1) its exculpatory value was evident before it was destroyed, (2) the

Defendant cannot obtain comparable evidence by other reasonably available means, and (3) law

enforcement acted in “bad faith.” Memo, at 32-33. However, the government never had and

therefore did not “destroy” these voicemails, and the Defendant has otherwise failed to satisfy

the Femia formulation.

       First, the Defendant, as the person who left the voicemails, has been aware of their

purported exculpatory content from the beginning of this case. 7 The only source for the

proposition that these voicemails were in any way exculpatory is the Defendant himself. He has

not claimed what it is about the October 8 and 9 voicemails that was exculpatory, but as to the

December 9 voicemail, he contends that he “told Mirnasiri that he had heard about Mirnasiri’s

backstabbing and gossip, and strongly and profanely advised Mirnasiri to stop talking about him

and his family, or else he would ‘beat the sh*t out of’ him.” Memo, at 27. But this account

does not make sense. As the Defendant recognizes, after leaving Mirnasiri a voicemail on


       7
         The Defendant failed in the extensive litigation over the government’s motion for
detention to allege that he had left an “exculpatory” voicemail for Mirnasiri. It is only now,
confident that no recording of this voicemail exists, that the Defendant has put forth the
purported substance of this voicemail.

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December 9, he spoke to Rick Scourtas, a friend of Mirnasiri, and, according to Scourtas, the

Defendant wanted Scourtas to deliver a message that Mirnasiri “gotta keep his mouth shut” and

stop talking badly about the Defendant. Memo at 13. Mirnasiri has confirmed that he had a

conversation with Scourtas in which Scourtas delivered, in substance, a message that the victim

was to stop talking and lying about the Defendant and should shut the hell up. Memo at 13.

There would have been no need to have Scourtas deliver any message at all if the Defendant had

already done it, far more effectively and frighteningly, via voicemail. Indeed, the Defendant is a

very intelligent man, and what strains credulity is that he would have left a voicemail message

containing an overt threat to assault the victim. What makes far more sense is that the Defendant

left a message for Mirnasiri to call him; Mirnasiri called back after speaking to Scourtas and left

a message; and the Defendant did not call Mirnasiri again because Scourtas had already spoken

to Mirnasiri.

       Moreover, the fact that the Defendant may have had more than one reason for having

Mirnasiri viciously assaulted is simply not, as the Defendant appears to assume, fatal to the

government’s case. The government has requested that the Court give the following so-called

“mixed-motive” jury instruction:

                The government also need not prove that the defendant’s actions
                were solely motivated by an intent to obtain property from Medi
                Mirnasiri. People rarely act for a single purpose, and the defendant
                need not have used, or threatened to use, force, violence or fear,
                including fear of economic loss or physical harm, solely in an
                attempt to obtain property from Medi Mirnasiri. If you find
                beyond a reasonable doubt that the defendant did attempt to obtain
                property from Medi Mirnasiri, then it makes no difference that the
                defendant may also have had another motive for the use, or
                threatened use, of force, violence or fear, including fear of
                economic loss or physical harm.




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United States’ Proposed Jury Instructions (Docket No. 235), at 25-26. So even if the Defendant

was angry with the victim for some other reason as well, as long as the jury finds that at least one

of the reasons for the threat and assault was the Defendant’s desire to have a piece of the victim’s

business, the Defendant has violated the Hobbs Act. See, e.g., United States v. Donna, 366 Fed.

App’x 441, 449 (2010) (3d Cir. 2010) (upholding dual motive jury instruction in extortion case);

see also United States v. Woodward, 149 F.3d 46, 70 (1st Cir. 1998) (“A defendant may be

prosecuted for deprivation of honest services if he has a dual intent, i.e., if he is found to have

intended both an lawful and an unlawful purpose to some degree. If the jury finds that the

unlawful purpose was present, it may convict the defendant.”); United States v. Coyne, 4 F.3d

100, 113 (2d Cir. 1993) (jury instruction that government must prove defendant accepted or

solicited thing of value “at least in part” for or because of his conduct as public official entirely

appropriate in light of defendant’s argument that he was motivated by friendship); United States

v. Vest, 639 F.Supp. 899, 904 (D. Mass. 1986) (“It is characteristic of human experience that

individuals usually—perhaps even always—act with mixed motives.”); Anderson v. United

States, 417 U.S. 211, 226 (1974) (“A single conspiracy may have several purposes, but if one of

them—whether primary or secondary—be the violation of a federal law, the conspiracy is

unlawful under federal law.”).

       In addition, the Defendant’s claim that SA Chizmadia obtained copies of the voicemail

messages, Memo at 33, is simply wrong. The government does not now, and never did, have

recordings of these three voicemails. The Defendant thus has not “established possession,

custody, and control over the voicemails,” and the failure to produce them as recorded statements

of the Defendant, as Brady material, or “even in response to the defense’s direct requests,” see




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Memo at 33-34, does not, as the Defendant contends, establish bad faith under the third prong of

Femia.

         Accordingly, the Defendant’s claim that the indictment should be dismissed because the

government destroyed evidence must be rejected.

         B. The Government Did Not Make Material Misrepresentations
            In Support of Its Motion To Detain The Defendant.

         The government does not believe it has ever represented to the Court that the FBI had no

contact with Mirnasiri between August and December. Undersigned counsel has repeatedly

stated, believing it to be true, that the FBI did not sit down and interview Mirnasiri about the

threat until December 28, 2014. See Memo, at 20-22. Undersigned counsel was told that the

August to December gap between when the SPD referred the matter to the FBI and when SA

Chizmadia ultimately interviewed Mirnasiri was essentially a lengthy game of phone tag. While

undersigned counsel was not aware of the number of phone contacts between SA Chizmadia and

Mirnasiri during the August to December 2014 time period until May 2018, the contacts

themselves do not indicate that, in hindsight, there was any inadvertent material

misrepresentation to the Court.

         By late August or early September, the FBI knew the gist of Mirnasiri’s complaint,

having received the police report from SPD. SA Chizmadia likely discussed the complaint

briefly during phone calls with Mirnasiri. Mirnasiri told SA Chizmadia that he was still in

contact with the Defendant, and SA Chizmadia told Mirnasiri to keep SA Chizmadia posted,

especially if Mirnasiri felt further threatened. But there was no active FBI investigation into the

attempted extortion before December 28, 2014, Mirnasiri did not record any conversations with

the Defendant, and SA Chizmadia neither heard nor arranged for the destruction of any

voicemails, let alone exculpatory voicemails. In fact, the FBI did not actively begin to

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investigate the flower incident until the Defendant followed up his threat with action, i.e., the

vicious beating on January 11, 2015.

       The number of contacts between Mirnasiri and SA Chizmadia during the relevant time

period – 47 according to the Defendant – is misleading. Of the 33 phone contacts between SA

Chizmadia and Mirnasiro between August and December 2014, 29 were less than 3 minutes

long. 8 In fact, 13 were less than 1 minute in duration and 11 were less than 2 minutes in

duration, with the longest call being less than 7 minutes. SA Chizmadia could hardly have been

debriefing Mirnasiri during those calls, and the timing of many of the calls reflects a game of

phone tag. Further, a phone call that is noted as 1 minute on the phone records does not

necessarily mean that the phones even connected. For example, the 1-minute call from Mirnasiri

to the Defendant on December 9, 2014 at 1:19 p.m., which was included on the Defendant’s

chart (Memo, at 12), actually appears to have gone unanswered by the Defendant, because he

was on the other line with one of his girlfriends for 14 minutes starting at 1:12 p.m. See Exhibit

9 (highlighted phone records of Defendant and Mirnasiri).

       The Defendant will have ample opportunity to cross-examine Mirnasiri at trial about his

contacts with the FBI during the August to December 2014 time period. Further, the Defendant

has indicated that he will call SA Chizmadia as a witness, and will likewise have an opportunity

to examine SA Chizmadia regarding his phone contacts with Mirnasiri before December 28,

2014. But the fact of the matter is, undersigned counsel did not knowingly make a representation




       8
         The phone records used for these calculations are billing records and not actual toll
records. Accordingly, it is the government’s understanding that any call that is even one second
more than one minute long will register on the billing records as a 2 minute call.

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to the Court about the contacts between the FBI and Mirnasiri between August and December

2014.

        C. The Government Did Not Withhold Exculpatory Evidence
           Until The Even Of Trial Or Deliberately Fail To Investigate Facts.

                 1. Mirnasiri’s Cellular Telephone Records.

        As an initial matter, there is absolutely no evidence that the government intentionally

failed to secure Mirnasiri’s cellular telephone records. The fact that it did not send subpoenas

until April 2017 is a red herring; the government focused first on the threatening flowers and the

violent assault, and before the grand jury returned its indictment, the government had

subpoenaed all relevant phone records. The fact that the government mistakenly hit a dead end

with Mirnasiri’s cellular telephone phone records does not mean the government intentionally

failed to secure those records because it was hiding something – indeed, upon realizing the error,

the government immediately secured those records and produced them to the Defendant.

        It is important to note that the Defendant’s complaint, at least with respect to Mirnasiri’s

phone records, is actually not one of non-disclosure, but rather one of delayed disclosure. A

prerequisite to obtaining relief in cases of delayed or non-disclosure of exculpatory evidence 9 is

a clear showing that the Defendant was prejudiced. Further, in cases of delayed disclosure of

material information, defense counsel have an obligation to request a continuance in order to

mitigate any prejudice. United States v. Sepulveda, 15 F.3d 1161, 1178 (1st Cir. 1993), cert.

denied, 512 U.S. 1223 (1994); United States v. Osorio, 929 F.2d 753, 758 (1st Cir. 1991).

        The Defendant’s motion fails to allege any actual prejudice. In fact, the Defendant

describes the prejudice he would have suffered “were Mirnasiri’s phone records never


        9
            The government does not agree that the phone records are exculpatory.

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produced,” but in fact the government produced Mirnasiri’s cellular telephone records as soon as

they came into the government’s possession. Docket No. 302-1, at 35 (emphasis added). The

First Circuit held in Osorio that even when the prosecution is tardy in disclosing material

exculpatory evidence (which is not the case with respect to Mirnasiri’s phone records) the crucial

inquiry is whether the delay prevented defense counsel from employing the material to good

effect:

                 The court must determine first, whether the disclosed evidence was
                 material, and second, whether the defendant was denied the
                 opportunity to use the disclosed evidence effectively.

Osorio, 929 F.2d at 758 (citation omitted). See also Sepulveda, 15 F.3d at 1178; United States v.

Devin, 918 F.2d 280, 290 (1st Cir. 1990).

           The Defendant had enough time with the phone records to prepare a Power Point

presentation for the Final Pretrial Conference on May 23, 2018, using details from those records

as its cornerstone. Moreover, the Court delayed the trial for one week, giving the Defendant

ample time to review and analyze the records. Based on fact that the government disclosed the

records when it received them, dismissal is not warranted.

                 2. SA Chizmadia’s 2014 Text Messages.

          The Court did not order the government to provide information pursuant to 18 U.S.C.

§ 3500 (the Jencks Act) before trial in this case. Nevertheless, the government represented to

defense counsel in January 2018 that it would produce Jencks Act materials no later than 21 days

before trial. On May 8, 2018, the government produced two spreadsheets of text messages




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between SA Chizmadia and SA Elio with Mirnasiri (as part of its Jencks Act production), 10

inadvertently omitting the third spreadsheet from the production.

         When defense counsel raised the issue of missing 2014 texts between Mirnasiri and SA

Chizmadia at the Final Pretrial Conference, the government was obviously surprised, and

represented that it would look into the issue forthwith. The government produced the missing

texts at 9:15 a.m. the next day. Had defense counsel raised the issue with the government on

May 18, 2018 (when they were apparently reviewing Mirnasiri’s records in preparation for the

surprise Power Point presentation regarding the missing texts), the government would have

produced the missing texts on May 18.

         Again, at least with respect to the text messages, the Defendant’s complaint is not one of

non-disclosure, but rather one of delayed disclosure, and the Defendant has not demonstrated

that he suffered any prejudice as a result of the delayed disclosure. After having the missing text

messages for less than 9 hours, the defense was able to analyze them and incorporate them with

the phone records into a comprehensive 42-page memorandum in support of the Motion. The

Defendant has not and cannot demonstrate prejudice, especially given the one-week delay to the

start of trial.

         D.       Various Criticisms Of The Government’s Investigation.

         The Defendant makes multiple and repeated allegations about the “unjustifiably reckless

and flawed investigation” into the Defendant’s attempted extortion of Mirnasiri. These

allegations are based on pure conjecture and supposition, and not grounded in the actual facts of

this case or the investigation. What is noticeably downplayed in the Defendant’s lengthy filing is




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              It is the government’s position that these text messages are in no way exculpatory.

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any mention of the key piece of evidence in this case, the Defendant’s own confession,

contained in the card delivered with the flowers, that the dispute with Mirnasiri was

related to ownership of AEG. While certainly the Defendant has a right to present testimony

regarding his allegations that the government’s investigation was flawed, none of his remaining

criticisms rises to the level of intentional government misconduct, and none of them merits

dismissal of the indictment.


                                                               Respectfully submitted,

                                                               ANDREW E. LELLING
                                                               United States Attorney

                                                      By:      /s/Kristina E. Barclay
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Date: May 25, 2018

                                      Certificate of Service

        I hereby certify that this document was filed through the ECF system, and therefore it
was sent electronically to the registered participants as identified on the Notice of Electronic
Filing.

                                                      /s/Kristina E. Barclay
                                                      KRISTINA E. BARCLAY
                                                      Assistant U.S. Attorney
Date: May 25, 2018




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